Case 3:23-cv-06522-MMC Document 75-10 Filed 01/26/24 Page 1 of 5




          EXHIBIT I
                Case 3:23-cv-06522-MMC Document 75-10 Filed 01/26/24 Page 2 of 5



mymodernmet.com /78-rpm-records-digital-archive/

Listen to the Sounds of the Past With Over 70,000 Digitized 78
RPM Records Online
by Shovava ⋮ ⋮ 2/26/2018




Photo: Skitterphoto

With the help of volunteer collectors, The Great 78 Project partnered with Internet Archive to release over
78,000 digitized 78 RPM record discs of early 20th century music. From blues and jazz, to classical and gospel,
the freely available, growing collection has managed to preserve the sounds of brittle 78 RPM discs, some of
which are so fragile, they could crumble in your hands. Made from shellac rather than vinyl, the 78 RPM
records were produced between 1898 and the late 1950s, and got their name because they play at a speed
around 78 revolutions per minute.




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               Case 3:23-cv-06522-MMC Document 75-10 Filed 01/26/24 Page 3 of 5

The founders of the Great 78 Project began the archive because they wanted to make “less commonly
available music accessible to researchers in a format where it can be manipulated and studied without harming
the physical artifacts.” The recorded music—in all its crackling glory—features the “often very prominent
surface noise and imperfections,” which makes it all the more special. Among the contributing collectors is
George Blood LP, the ARChive of Contemporary Music, and over 20 more institutions from around the world.
The best part? The growing collection is constantly updating, with approximately 5,000 new uploads per month,
so you’ll never run out of vintage tunes. When browsing the audio library, you can search by creator, collection,
the year of the original recording, and more. You might even find multiple versions of the same song, as some
have been recorded using different setups.

If you’re a collector, you can contribute to the project by uploading or donating your own 78 RPM records.
Otherwise, just sit back, and treat yourself to a trip back in time.


Thanks to The Great 78 Project, you can now listen to the sounds of
the 20th century with over 75,000 digitized 78 RPM records.




                                                                                                              2/4
              Case 3:23-cv-06522-MMC Document 75-10 Filed 01/26/24 Page 4 of 5




The German label for a 78 of Jack Smith’s jazz song “I Kiss Your Hand, Madame.” (Photo: Wikimedia Commons)


Here’s some vintage tunes to get you started.
The Great 78 Project: Website
h/t: [Open Culture]


Related Articles:

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              Case 3:23-cv-06522-MMC Document 75-10 Filed 01/26/24 Page 5 of 5

Online Archive Lets You to Listen and Download 400,000+ Free Classical Musical Scores

20,000 Artworks Available for Free Download on LACMA’s Robust Digital Archive

Free Digital Archive Makes Over 50 Million Pieces of European Art Available Online

New Digital Archive Features Over 2 Million Photos from the First 100 Years of Photography




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